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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


    DONNA CURLING, et al.,                     :
                                               :
         Plaintiffs,                           :
                                               :
    v.                                         :           CIVIL ACTION NO.
                                               :           1:17-cv-2989-AT
    BRAD RAFFENSPERGER, et al.,                :
                                               :
         Defendants.                           :



                                           ORDER

         During the pendency of this lawsuit and following the 2018 gubernatorial

general election, the Georgia Legislature enacted legislation requiring the

Secretary of State to implement a new voting system that includes a voter-

verifiable paper record. In addition to their original claims aimed at the State’s

former electronic voting machines, Plaintiffs’ newly amended claims challenge the

ballot marking device system chosen by the Secretary of State which tabulates

votes using an encrypted 2D barcode that Plaintiffs allege cannot be voter-verified.

The State Defendants’ Motion to Dismiss Curling Plaintiffs’ Third Amended

Complaint and Coalition Plaintiffs’ First Supplemental Complaint [Doc. 645] is

now pending before the Court. 1



1 After the Court granted Plaintiffs leave to file amended complaints, both the Coalition’s First
Supplemental Complaint (Doc. 628) and the Curling Plaintiffs’ Third Amended Complaint (Doc.
627) were filed on October 15, 2019.
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I.    BACKGROUND AND FACTUAL ALLEGATIONS

      A.    Georgia Enacts New Election Code and Adopts New Ballot
            Marking Device Voting System

      Effective April 2, 2019, the Georgia legislature passed H.B. 316 and S.B. 34,

mandating a new uniform statewide voting system that provides for:

      the use of scanning ballots marked by electronic ballot markers and
      tabulated by using ballot scanners for voting at the polls and for
      absentee ballots cast in person, unless otherwise authorized by law;
      provided, however, that such electronic ballot markers shall produce
      paper ballots which are marked with the elector’s choices in a format
      readable by the elector.

O.C.G.A. § 21–2–300(a)(2). (Coalition Pls.’ Compl. ¶ 3.) Georgia’s new election

code defines “electronic ballot marker”– also referred to as a ballot marking device

or BMD – to mean:

      an electronic device that does not compute or retain votes; may
      integrate components such as a ballot scanner, printer, touch screen
      monitor, audio output, and a navigational keypad; and uses electronic
      technology to independently and privately mark a paper ballot at the
      direction of an elector, interpret ballot selections, communicate such
      interpretation for elector verification, and print an elector verifiable
      paper ballot.

O.C.G.A. § 21–2–2(7.1). (Coalition Pls.’ Compl. ¶ 20; Curling Pls.’ Compl. ¶ 136.)

The law also requires that the “equipment used for casting and counting votes in

county, state, and federal elections shall be the same in each county of this state

and shall be provided to each county by the state, as determined by the

Secretary of State.” O.C.G.A. § 21–2–300(a)(1) (emphasis added).

      The election code requires the Secretary of State to certify that the new BMD

voting system is “safe and practicable for use” in all state, federal, and county


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elections in the State and complies with the Georgia Election Code, the Rules of the

Georgia State Election Board, and the Rules of the Secretary of State. O.C.G.A. §

21–2–300(a)(2); Ga. Comp. R. & Reg. r. 590–8–1–.01(d). To comply with the

rules governing certification, the voting system must meet qualification testing

performed by an Independent Test Agency (ITA) certified by the Election

Assistance Commission (EAC) or a Georgia Certification Agent designated by the

Secretary of State. Ga. Comp. R. & Reg. r. 590–8–1–.01(d).

       On July 29, 2019, the Secretary of State announced his intent to award the

contract for this new system to Dominion Voting Systems, Inc. (Doc. 552; see also

Curling Pls.’ Compl. ¶ 70; Coalition Pls.’ Compl. ¶ 5.) 2 The Secretary of State

engaged Pro V&V to conduct certification testing of the system. (Coalition Pls.’

Compl. ¶ 89.)       According to the Coalition Plaintiffs’ Complaint, Pro V&V’s

certificate of accreditation by the EAC as a voting system test laboratory expired

on February 24, 2017. (Id. ¶ 90.) On August 7, 2019, Pro V&V signed a Test Report

stating that the requirements set forth for voting systems by the EAC 2005

Voluntary Voting System Guidelines (“VVSG”) and the State of Georgia were

satisfied. (Id. ¶ 90; see also Pro V&V Test Report at 18, Doc. 61-7.) Two days later,

on August 9, 2019 the Secretary of State certified the Dominion BMD system as

compliant with the election code. (Doc. 575 at 7; see also Coalition Pls.’ Compl. ¶

92.)



2On August 9, 2029, after no protests were made to the award, the Secretary of State issued its
Final Notice of Award. (Doc. 575.)

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         The Dominion voting system includes an election management system

(“EMS”), ePollbook electronic voter check-in pollpads and software, electronic

BMDs, and ballot scanners. (Coalition Pls.’ Compl. ¶¶ 67, 70.) Below are photos

of the ePollbook, BMD, and ballot scanner certified for use by the Secretary of

State:




(Pro V&V Test Report, Dominion Voting Systems D-Suite 5.5A Voting System,

Georgia State Certification Testing at 13-14.)

         Pollworkers use the ePollbook to confirm a voter is in the correct polling

place and eligible to vote and then to encode and issue a voter access card.

(Coalition Pls.’ Compl. ¶¶ 70-71.) The voter inserts the access card into the BMD

which pulls up the ballot style assigned to the voter encoded on the access card and

displays voting options on the BMD touchscreen. (Coalition Pls.’ Compl. ¶¶ 72-

73.) After the voter makes her selections on the touchscreen, the BMD prints a



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paper “ballot” containing a 2D barcode encoded with the selections and a human

readable text summary of the voter’s selections as shown in the example image

below:




(Doc. 555 at 13.) The voter is expected to review the human readable summary on

the paper ballot printout to confirm that it correctly reflects the choices made on

the touchscreen before casting her ballot by inserting it into a separate ballot

scanner. (Coalition Pls.’ Compl. ¶¶ 82-83.) The summary indicates the candidates

for whom a vote was cast, but not the other candidates identified in each race.


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      The ballot scanners do not tabulate votes from the written text summary of

the voter’s selections generated by the BMD. (Curling Pls.’ Compl. ¶ 71.) Instead,

the ballot scanners tabulate votes by interpreting the encoded information about

the voter’s choices generated by the BMD in computer-readable form in the 2D

barcode. (Coalition Pls.’ Compl. ¶ 79; Curling Pls.’ Compl. ¶¶ 71, 73.) The scanner

saves this information, referred to as the cast vote record, to removable flash cards

for use by county election officials for final tabulation along with hand-marked

absentee and provisional ballots. (Coalition Pls.’ Compl. ¶¶ 84-86.)

      The paper ballot printouts are also retained by county election officials and

can be used for audit or recount purposes. (Coalition Pls.’ Compl. ¶¶ 87-88.) The

election code provides that “[t]he paper ballot marked and printed by the

electronic ballot marker shall constitute the official ballot and shall be used for,

and govern the result in, any recount conducted pursuant to Code Section 21-2-

495 and any audit conducted pursuant to Code Section 21-2-498.” O.C.G.A. § 21–

2–379.23(d).

      Georgia’s Election Code contains new audit provisions. See O.C.G.A. § 21-2-

498. First, beginning with the November 2020 general election, local election

superintendents will be required to conduct “precertification tabulation audits” for

any federal or state general election in accordance with rules promulgated by the

State Election Board. 3 O.C.G.A. § 21-2-498(b). Second, after successfully


3  O.C.G.A. § 21-2-498(c) provides that “[i]n conducting each audit, the local election
superintendents shall:
  (1) Complete the audit prior to final certification of the contest;

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completing a risk-limiting audit pilot program, the Secretary of State will be

required to implement risk-limiting auditing for all statewide elections “beginning

not later than November 1, 2024.” 4 O.C.G.A. § 21-2-498(e). Finally, the code

provides that “[t]he procedures prescribed by the State Election Board shall

include security procedures to ensure that collection of validly cast ballots is

complete, accurate, and trustworthy throughout the audit.” O.C.G.A. § 21-2-

498(d).

       B.      Procedural Posture

       On August 16, 2019, the day after this Court entered an Order partially

granting the Plaintiffs’ motions to preliminarily enjoin Georgia’s use of DREs for

future elections past 2019, the Curling Plaintiffs moved to amend their Complaint

to include claims challenging the incoming BMDs.                       The Coalition Plaintiffs

followed suit three weeks later, filing their own separate motion to amend on

September 6, 2019. The Court granted the Plaintiffs’ motions on October 15, 2019,

based on Defendants’ written indication of their consent on the condition that they



  (2) Ensure that all types of ballots are included in the audit, whether cast in person, by absentee
  ballot, advance voting, provisional ballot, or otherwise;
  (3) Provide a report of the unofficial final tabulated vote results for the contest to the public
  prior to conducting the audit;
  (4) Complete the audit in public view; and
  (5) Provide details of the audit to the public within 48 hours of completion.”
4 The Secretary shall (i) conduct a risk-limiting audit pilot program with a risk limit of not greater

than 10 percent in one or more counties by December 31, 2021; and (ii) review the results of the
pilot program and provide the members of the General Assembly with a comprehensive report,
including a plan on how to implement risk-limiting audits state wide, within 90 days following
the election in which such pilot program is used. O.C.G.A. § 21-2-498(e). The code provides that
if the “risk-limiting audit is successful in achieving the specified confidence level within five
business days following the election for which it was conducted, then all audits performed
pursuant to this Code section shall be similarly conducted.” Id.

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retained their right to “to file motions to dismiss on the merits of the new claims,”

and that discovery would be stayed pending a ruling on the motions. The State

Defendants moved to dismiss the amended complaints on October 25, 2019, but

as discussed below they did not confine their motion to the new claims as

represented.

       C.      New Allegations Challenging BMDs

       The Curling and Coalition Plaintiffs allege that Defendants have failed to

implement a constitutionally acceptable election system by requiring all in-person

voters to use ballot-marking devices (“BMDs”) which suffer from the same

vulnerabilities as Defendants’ flawed DRE Voting System. (Curling Pls.’ Compl. ¶¶

11, 75-76; Coalition Pls.’ Compl. ¶¶ 6-7.) The basis for their claims fall into three

main criticisms 5: (1) the barcode-based BMD voting system will not be substantially

safer than the DREs because BMDs are also susceptible to cybersecurity risks and

manipulation, (2) the barcode-based BMD voting system does not produce a voter-

verifiable paper record, and (3) the barcode-based BMD voting system is incapable

of being meaningfully audited.

       Plaintiffs allege that the Secretary of State adopted the Dominion barcode-

based BMDs against the recommendation of cybersecurity experts and despite the

fact that such voting systems have some of the same demonstrated security

vulnerabilities as DREs. (Curling Pls.’ Compl. ¶¶ 75-76; Coalition Pls.’ Compl. ¶¶



5 As discussed below, the Coalition Plaintiffs assert additional allegations about the security,
reliability, and lawfulness of BMDs. (See, e.g., Coalition Pls.’ Compl. ¶ 93.)

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132-136, 168-169.)       Their Complaints identify several alleged vulnerabilities

identified with Dominion’s election software and hardware. First, they allege that

Dominion’s election system was certified under a 14-year old standard VVSG 1.0)

rather than the more recent VVSG 1.1 or VVSG 2.0 standards. 6 (Curling Pls.’ Compl.

¶ 79; Coalition Pls.’ Compl. ¶¶ 149-154.) Second, they allege that BMDs rely on

software released in February 2015, which has not received security updates since

March 2018. (Curling Pls.’ Compl. ¶ 82.) Third, they contend that in February

2019, Texas voting systems examiners refused to certify Dominion’s election

management system based upon several problems with the software that did not

appear to have ready-made or simple solutions, including that: (1) Dominion’s

hardware could be connected to and infected by the internet; (2) the audit trail

stored voter selections in sequential order, which would permit the secrecy of the

ballot box to be compromised; and (3) the paths for import of election data into the

election management program revealed multiple opportunities for mistakes,

requiring three separate restarts of the adjudication process during testing.

(Curling Pls.’ Compl. ¶ 80.) Fourth, Plaintiffs allege that hackers at the 2019

DEFCON Voting Village identified twenty vulnerabilities in Dominion’s precinct

scanners.    (Curling Pls.’ Compl. ¶ 81; Coalition Pls.’ Compl. ¶ 173.)                  These

vulnerabilities included the ability of remote attackers to implement a Domain

Name System (“DNS”) attack and the existence of an exposed flash card containing



6 The Coalition Plaintiffs further allege that the Secretary has failed to satisfy Georgia’s
certification requirement for the Dominion system. (Coalition Pls.’ Compl. ¶¶ 154-162, 170-172.)

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an .xml file that, if manipulated, would allow for scanned votes to be redirected to

a different candidate. (Id.)

       Finally, the Coalition Plaintiffs allege that there is a risk that malware-

infected components of the compromised DRE/GEMS system can be transmitted

to the new Dominion BMD System if the two systems interface either by direct or

indirect physical and networked interaction between any pieces of the old system

and any pieces of the new system at any point in time, including by shared

interfacing with intermediary equipment. (Coalition Pls.’ Compl. ¶ 176.) The

Coalition Plaintiffs allege that despite the State Defendants’ denial that any

electronic data from the existing GEMS server and database will be imported for

use with the new Dominion BMD System, (Doc. 556), the Dominion BMD System

will be exposed at least indirectly to compromised components of the old system

as the result of each system’s separate interfacing with the Secretary’s IT

infrastructure which is compromised because of the history of security breaches

already documented and proven in this litigation. (Id. ¶¶ 177-180.) According to

Coalition Plaintiffs, “the DRE voting system and its components, including existing

files, data sets, and auxiliary programs, can pass malware to the ‘new’ servers and

working files of the Dominion BMD System. As legacy GEMS files are converted or

transferred to work with the new Dominion BMD System, they will carry with them

undetected malware or erroneous coding that will compromise the new system.”

(Id. ¶ 181.)




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       Plaintiffs’ second major criticism of the Dominion BMD system is their

assertion that it lacks a voter-verifiable paper record. As a result of the alleged

vulnerabilities outlined in their new Complaints, Plaintiffs contend that there is the

potential that the BMD could generate barcodes that contain information regarding

a voter’s choices that do not match what the voter entered (as reflected in the

written text summary), or could cause a precinct scanner to improperly tabulate

votes. (Curling Pls.’ Compl. ¶¶ 83-84; see also Coalition Pls.’ Compl. ¶¶ 167-174.)

Plaintiffs allege that the human readable text generated by the BMD is irrelevant to

the vote tabulation by the ballot scanners which read only the undecipherable

barcodes. (Curling Pls.’ Compl. ¶ 73; Coalition Pls.’ Compl. ¶ 64.) Therefore, voters

will be unable to conduct any verification of the information encoded in the non-

human readable barcode, will have no way of knowing what votes they are actually

casting, and will instead be forced to trust that the barcode accurately conveys their

intended selections. (Curling Pls.’ Compl. ¶ 74; Coalition Pls.’ Compl. ¶ 66, 79, 82,

104.) Plaintiffs claim this fundamental characteristic of the BMD voting system,

even if operated as designed, fails to provide voters with a verifiable auditable

voting record in violation of their Constitutional right to a “transparent, fair,

accurate, and verifiable election process” and to “cast an accountable vote.”

(Coalition Pls.’ Compl. ¶¶ 1, 64-66, 105, 107; see also Curling Pls.’ Compl. ¶¶ 74, 90,

116-119.)

       Additionally, even if the barcode is identical to the text summary, Plaintiffs

allege that the text summary does not redeem the system because: (1) research has


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demonstrated that most voters are unlikely to review these summaries even when

specifically directed to do so; (2) polling place exit interviews of voters who do

choose to review a text summary of their vote reveal that some are unable to recall

details of the ballots they cast and that voters fail to recognize errors in ballots

presented to them for verification, or fail to recognize that the ballots presented to

them for verification were not the ones they actually cast; and (3) on those occasions

where a voter does notice a discrepancy on their ballot, research suggests that they

are far more likely to attribute the discrepancy to their own mistake and are

therefore “unlikely to raise concerns about a systemic attack on an election.”

(Curling Pls.’ Compl. ¶¶ 85-87; see also Coalition Pls.’ Compl. ¶ 110-120.) This is

allegedly also a function of the length and complexity of ballots, because the BMD

generated printed paper ballot contains only a paraphrased summary of the voter’s

choices, and because voters may assume that the barcode contains accurate and

complete information, even if the printout appears to be incomplete. (Coalition

Pls.’ Compl. ¶¶ 114-115, 117.) The voter must rely exclusively upon her memory to

review the text summary and confirm that it is complete and correct despite

agreement by auditing and voting system experts that “in most elections, many, if

not most, voters will be unable, from memory, without the benefit of any visual cues

or context, to reliably, accurately, and completely verify the completeness and

correctness of a paraphrased textual summary of the selections they previously

made on the touchscreen over the course of potentially 5 or 10 minutes” and “are

unlikely to detect if a low-profile down-ballot race or ballot question is left off the


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paper printout, or to notice if their votes were switched between ‘Yes’ and ‘No’ on a

particular question.” (Id. ¶ 115.)

       The third major critique shared by the Curling and Coalition Plaintiffs is

that, in light of these identified problems, Georgia’s new barcode-based BMD

system does not allow for a meaningful audit to guarantee that votes are accurately

recorded and tabulated. (Curling Pls.’ Compl. ¶¶ 72, 90; Coalition Pls.’ Compl. ¶¶

130-136, 142-147.) According to the Curling Plaintiffs, this alleged flaw is

exacerbated by Georgia’s failure to implement risk-limiting audits for all of its

elections, including the November 2020 Presidential election. (Curling Pls.’ Compl.

¶ 89.) The Coalition Plaintiffs rely on the opinions of experts, including Dr. Phillip

Stark, the creator of risk-limiting audits, and the National Academy of Sciences as

a basis for their contention that it is impossible to conduct a valid audit of BMDs

that use barcodes to tabulate votes. (Coalition Pls.’ Compl. ¶¶ 132-135.)

       The Coalition Plaintiffs also raise three separate factual challenges to the

implementation of the Dominion BMD system: (1) that the ballots cast on the

Dominion BMDs are not secret ballots, (id. ¶¶ 121-129); (2) that the Dominion

system is illegal to use because the Secretary of States’ improper certification of the

system is void, (id. ¶¶ 148-163); and (3) that proper implementation of the BMD

system in time to conduct the upcoming elections is impractical and will expose

voters to an electoral disaster, (id. ¶¶ 187-199).

       In addition to their original claims challenging the DRE/GEMS voting

system, Curling Plaintiffs bring three new causes of action regarding BMDs: (1)


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Count III asserts that the BMD voting system will result in a violation of the

Fourteenth Amendment’s guarantee of substantive due process, based on the

substantial burden placed on Plaintiffs fundamental right to vote; (2) Count IV

asserts that the BMD voting system will result in a violation of the Fourteenth

Amendment’s guarantee of equal protection as a result of the unequal treatment

between votes cast on BMDs and votes cast by absentee paper ballot; and (3) Count

V asserts a claim for declaratory judgment that the Dominion BMD voting system

selected by the Secretary of State violates the provisions of Act. No. 24/H.B. 316

that require an “elector verifiable paper ballot.” The Coalition Plaintiffs assert

similar claims for substantive due process and equal protection violations related

to the new BMDs in Counts I and II of their First Supplemental Complaint. They

also assert a procedural due process claim in Count III. 7

II.    DISCUSSION

       The     State     Defendants       filed        a   Motion   to    Dismiss      Plaintiffs’

amended/supplemental complaints on nearly identical grounds as their prior

motions, which include: lack of standing, Eleventh Amendment immunity, failure


7According to the Coalition Plaintiffs’ First Supplemental Complaint “Pursuant to Rule 15(d) of
the Federal Rules of Civil Procedure, the Coalition Plaintiffs, in this supplemental complaint,
hereby set out the following transactions, occurrences, and events that happened after the
relation-back date of the Coalition Plaintiffs’ Third Amended Complaint (the “TAC,” Doc. 226).
The allegations and claims stated by this supplemental complaint are additional
to, and do not supersede or replace, the allegations and claims stated in the TAC.
(at page 6.)” (Coalition Pls.’ First Supp. Compl. at 6, Doc. 628.) Despite stating that the
allegations and claims are additional to, but do not supersede or replace those in the Third
Amended Complaint, the Coalition’s First Supplemental Complaint does not pick up where the
TAC left off. Instead, the factual allegations begin with paragraph 1, and the claims are
enumerated as Counts I, II, and III. As a result, the Coalition Plaintiffs now confusingly have two
different claims cast as “Count I” and two different claims cast as “Count II.”

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to state a claim, and the additional ground that Plaintiffs’ remedy violates the

Americans With Disabilities Act. 8 But Defendants also seek to dismiss Plaintiffs’

original claims regarding the DREs, arguing that: (1) the claims are moot because

the DREs have been decertified by the Secretary of State and will no longer be used

in Georgia elections; and (2) Defendants are entitled to Eleventh Amendment

immunity because Plaintiffs’ claim for declaratory relief regarding the DRE system

as a whole seeks redress of past harms.

       As an initial matter, the Court notes that in an October 23, 2019 Order, the

Court advised Defendants that:

       The Court has entered two prior orders addressing motions to dismiss
       Plaintiffs’ claims regarding DREs and will not entertain further
       arguments regarding the dismissal of those claims which now form
       the basis of the Court’s August 15, 2019 preliminary injunction order.
       Defendants should focus their arguments entirely on the new claims
       related to the BMDs.

(Doc. 638.) The State Defendants ignored this Court’s directives and move to

dismiss Plaintiffs’ existing claims seeking relief as to the DRE voting system in

addition to the Plaintiffs’ newly added BMD claims.

       A.     Plaintiffs’ Claims Challenging the DRE/GEMS Voting
              System and Associated Software Systems Are Not Entirely
              Moot

       In response to Plaintiffs amending their Complaints to assert new claims

challenging the replacement of DREs with BMDs, State Defendants assert that




8This last argument was previously raised by the State Defendants in connection with the prior
round of preliminary injunction motions.

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Plaintiffs’ continued challenges to the DRE system are moot 9 because of: (a) the

change in Georgia’s election law with the passage of HB 316; and (b) the State’s

voluntary transition from DREs to BMDs. As a result, the State Defendants

contend that the State’s “voluntarily cessation” of the “the allegedly wrongful

behavior” precludes further relief by the court warranting the dismissal of the

claims as moot. See United States v. Georgia, 778 F.3d 1202, 1205 (11th Cir. 2015)

(finding that in light of the passage of “comprehensive election reforms,” the court

could not “conclude that the Georgia Legislature would go back to the old electoral

system if [the case] were dismissed as moot”); Atheists of Fla. Inc. v. City of

Lakeland, 713 F.3d 577, 594 (11th Cir. 2013) (reasoning that the “voluntary

cessation by a government actor gives rise to a rebuttable presumption that the

objectionable behavior will not recur”).

        A case is moot when the issues presented are no longer “live” or the parties

lack a legally cognizable interest in the outcome. Atheists of Florida, Inc., 713 F.3d

577, 593-94 (11th Cir. 2013); Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013).

Mootness can occur due to a change in circumstances or a change in the law. Coral

Springs Street Systems, Inc. v. City of Sunrise, 371 F.3d 1328 (11th Cir. 2004).

However, if the plaintiff’s injury is likely to reoccur, despite events that occur



9 Defendants assert that Plaintiffs cannot have it both ways – they cannot proceed on their “DRE
claims” if their “BMD claims” are ripe. The Court asked the parties to address the issue of ripeness
in supplemental briefing. The parties are in agreement that Plaintiffs’ claims challenging the
BMDs are ripe. State Defendants contend, instead, that Plaintiffs lack standing to pursue claims
challenging the BMDs. While the concepts of standing, ripeness, and mootness are related, they
are each subject to a distinct body of case law. See Friends of the Earth, Inc. v. Laidlaw Envtl.
Servs. (TOC), Inc., 528 U.S. 167, 174 (2000).

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subsequent to the filing of a lawsuit, then the court can still provide injunctive

relief, and the claim is not moot. See Knox v. Service Employees, 567 U.S. 298, 307

(2012) (“A case becomes moot only when it is impossible for a court to grant any

effectual relief whatever to the prevailing party.”); Friends of the Earth, 528 U.S.

at 193; De La Teja v. United States, 321 F.3d 1357, 1362 (11th Cir. 2003).

      An “event” that may moot a claim can occur when the defendant ceases the

behavior on which a claim is based. But, a defendant’s “voluntary cessation” of a

challenged practice does not necessarily “deprive a federal court of its power to

determine the legality of the practice.” Friends of the Earth, Inc. v. Laidlaw Envtl.

Servs. (TOC), Inc., 528 U.S. 167, 189 (2000); Sheely v. MRI Radiology Network,

P.A., 505 F.3d 1173 (2007); Troiano, 382 F.3d at 1282.            The standard for

determining whether a case has been mooted by the defendant’s voluntary conduct

“is stringent: A case might become moot if subsequent events made it absolutely

clear that the allegedly wrongful behavior could not reasonably be expected to

recur.” Friends of the Earth, 528 U.S. at 189 (emphasis added); Coral Springs

Street Systems, Inc., 371 F.3d at 1328 (citing United States v. W.T. Grant Co., 345

U.S. 629, 632 (1953) (“[T]o say that the case has become moot means that the

defendant is entitled to a dismissal as a matter of right. The courts have rightly

refused to grant defendants such a powerful weapon against public law

enforcement.”)).

      A defendant claiming that its voluntary compliance moots a case bears a

“formidable” burden of persuading the court that the challenged conduct cannot


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reasonably be expected to start up again. Laidlaw, 528 U.S. at 190, 189; Sheely,

505 F.3d at 1184. A defendant’s assertion that it has no intention of reinstating the

challenged practice “does not suffice to make a case moot” and is but “one of the

factors to be considered in determining the appropriateness of granting an

injunction against the now-discontinued acts.” Id. (quoting W.T. Grant, 345 U.S.

at 633); see also Hall v. Bd. of Sch. Comm’rs of Conecuh Cty, 656 F.2d 999, 1001

(5th Cir. 1981) (“To defeat jurisdiction ..., defendants must offer more than their

mere profession that the conduct has ceased and will not be revived.”). “The

defendant’s burden to show that a plaintiff is not facing future injury (and,

therefore, is not in need of court-ordered relief) is heavier than the plaintiff’s

burden of demonstrating the possibility of future injury when establishing

standing. Fair Fight Action Inc. v. Raffensperger, Civil Action 1:18-cv-5391-SCJ,

Order, Doc. 68 at 25 (citing Friends of the Earth, 528 U.S. at 190).

      When the defendant is a government actor, “there is a rebuttable

presumption that the objectionable behavior will not recur.” Troiano, 382 F.3d at

1282-83 (emphasis in original) (citing Coral Springs St. Sys., Inc., 371 F.3d at

1328–29. Governmental entities and officials “have been given considerably more

leeway than private parties in the presumption that they are unlikely to resume

illegal activities.” Coral Springs, 371 F.3d at 1328–29; Troiano, 382 F.3d at 1283

(courts are “more apt to trust public officials than private defendants to desist from

future violations”).




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        The enactment of a superseding statute or regulation moots a case “only to

the extent that it removes challenged features of the prior law.” Coral Springs, 371

F.3d at 1329 (quoting Coal. for the Abolition of Marijuana Prohibition v. City of

Atlanta, 219 F.3d 1301, 1310 (11th Cir. 2000)). “To the extent that those features

remain in place, and changes in the law have not so fundamentally altered the

statutory framework as to render the original controversy a mere abstraction, the

case is not moot.” Coal. for the Abolition of Marijuana Prohibition, 219 F.3d at

1310.    For example, in Northeastern Florida Chapter of Associated General

Contractors of America v. City of Jacksonville, Fla., the Supreme Court declined

to find moot a challenge to a minority set-aside program even though the

challenged law had been repealed, because it had been replaced with a law that,

although somewhat narrower, still had the potential to disadvantage the plaintiff:

“There is no mere risk that Jacksonville will repeat its allegedly wrongful conduct;

it has already done so.” 508 U.S. 656, 662 (1993). Thus, claims based on provisions

of the law that continue after the enactment of a superseding law are not moot.

Naturist Soc’y, Inc. v. Fillyaw, 958 F.2d 1515, 1520 (11th Cir. 1992) (“Where a

superseding statute leaves objectionable features of the prior law substantially

undisturbed, the case is not moot.”).

        The State Defendants seek dismissal of Plaintiffs’ claims relating to DREs as

now being moot because: (1) the State has voluntarily moved from the use of DRE

voting to BMDs as a result of the passage of HB 316; (2) the State has purchased

and is employing BMDs statewide in time for statewide use in the 2020 primary


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and general elections; (3) the Court also has prohibited the State’s use of “the

GEMS/DRE system in conducting elections after 2019;” and (4) the State has

decertified the DREs and has collected and stored them in a suitable facility in a

fiscally prudent manner for testing of a sample and future disposal per the parties’

agreement and the Court’s approval. 10 (See Consent Order on Storage of DREs,

Doc. 745) (addressing storage, testing of DRE memory cards and/or DRE Recap

Sheets for purposes of identifying a sample of DRE machines to evaluate for

assessment of electronic hacking/access issues in dispute).

       Defendants are correct that all of this precludes the possibility of the DRE

machines being used again in Georgia elections. 11 And the Court has indicated that

it does not intend to grant any further relief relating to the use of the old DRE

voting machines. But Plaintiffs’ original claims challenged elements of the voting

system beyond the DRE voting machines themselves. As highlighted extensively

in this Court’s prior orders, Plaintiffs’ claims encompassed the security of the

Secretary of State’s election technology infrastructure and the actual breach of the

Center for Election Systems (“CES”) servers, computer networks, and data and the

State’s electronic voter registration system and database. 12 These concerns were at


10 The Court recognizes that at the time this Order is being issued, both the 2020 Presidential
Preference Primary and Georgia’s Statewide Primary elections (pre-runoffs) have been conducted
on the BMD system and DREs are no longer being used for any elections.
11 At the time when Plaintiffs’ amended complaints were filed and these motions were being

briefed in 2019, DREs were still being used to conduct a small number of local elections and
runoffs.
12 Given the State’s strong desire to protect the total confidentiality of its central GEMS server,

the Court has authorized discovery of a sample of DRE voting machines, pursuant to Consent
Order, to allow Plaintiffs’ access to potentially relevant evidence in connection with these security,
breach, and data integrity claims.

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the center of the Court’s consideration in ordering relief in August 2019 and remain

a focus of this case even as the State implements the BMDs in connection with

multiple other components and the State’s main election system server. Plaintiffs

allege in their amended/supplemental complaints that elements of the former

system, including the voter registration database, will carry over into the new

election system. And as this Court noted in its August 15, 2019 Order:

      The voter registration database, containing millions of Georgia voters’
      personal identifying information, plays a vital role in the proper
      functioning of the voting system. Yet it has been open to access,
      alteration, and likely some degree of virus and malware infection for
      years, whether in connection with: CES/KSU’s handling of the system
      and data and failure to address these circumstances upon transfer of
      CES’s functions back to the SOS; failure to remediate the database,
      software and data system flaws and deficiencies; or exposure of the
      widespread access to passwords to the voter registration data system
      throughout the SOS, CES/KSU, the 159 counties, or the public via the
      virtual open portal maintained at CES/KSU. Most significantly, the
      programming and use of ballots in both the DRE and future Dominion
      BMD system is tied to the accuracy of voter precinct and address
      information. Inaccuracy in this voter information thus triggers
      obstacles in the voting process. New Dominion express poll machines
      bought as part of the new contract with Dominion cannot alone
      cleanse the voter database to be transferred and relied upon.

(August 15, 2019 Order, Doc. 579 at 88-89.)

      Defendants admit that the voter registration database (ENET), which is used

by county registrars to maintain and update voter registration records is not being

replaced and that information from this system will be loaded into the new

electronic pollbooks for each election. (Defs.’ Mot. at 11, n. 14; see also Dec. 6, 2019

Tr. at 11) (explaining that the ENET system “used to program ExpressPoll check-

in units for the GEMS/DRE system” is “not being replaced” and that “[t]he same


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database and same data, a flat text file, will be used to populate the Poll Pads”).

They contend that the information is not electronically transmitted, and therefore

cannot corrupt the new pollbook system, because only a flat text file from ENET

(that will be run through a security scan) will be loaded into the pollpads for use

during elections. Defendants offer nothing, however, to show that any action has

been taken in response to issues experienced by voters in November 2018 (and

prior elections or allegedly, during more recent elections) to ensure that the

information from ENET is reliable, accurate, and updated. Due to the volume of

evidence of voter issues at the polls detailed in the Court’s August 2019 Order,

Plaintiffs’ allegations that errors and deficiencies in the voter registration system

and database are likely to carry over into the new system and cause another round

of voter disenfranchisement are plausible and remain a material concern. And of

course, Defendants’ motion is not being decided in a vacuum. As the Court is aware

from the evidence presented in the context of the Plaintiffs’ prior preliminary

injunction motions, Defendants’ contentions that the other two voter registration

systems, the My Voter Page (MVP) and the Online Voter Registration system, do

not interface with ENET are challenged by Plaintiffs. Plaintiffs have offered

testimony of cybersecurity experts to rebut the State’s assertions. 13 Clearly, to the


13Plaintiffs presented evidence that the State’s technology failures (whether caused by malicious
interference, out of date software, or even human error by county registrars in failing to update
voter registration information) have resulted in voter disruption and have potentially been left
unremediated. Numerous declarations from voters highlighted instances where a voter’s
registration status on MVP, the “outward-facing system used to provide information to voters”
did not match the voter registration status in the electronic pollbooks used to check in voters at
the voting polls. At the December 6, 2019 hearing, counsel for the State explained it this way: “The
My Voter page is a snapshot of the ENet database at a particular point in time. So it is a read only.

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extent that the Court views the MVP system as part of the Plaintiffs’ continuing

challenge, the State’s position on the MVP interface issue conflicts with this

evidence provided to date.

        Although O.C.G.A. § 21-2-221.2 (f) requires that “the Secretary of State shall

employ security measures to ensure the accuracy and integrity of voter registration

applications submitted electronically,” the Plaintiffs have demonstrated a detailed

account of the Secretary of State’s deficient security practices in Georgia’s pre-

2020 elections. The Court therefore required the State Defendants to develop

procedures and take other actions to address the significant deficiencies in the

voter registration database and the implementation of the ExpressPoll system.

        It is unclear what actions, if any, the State has undertaken to address these

deficiencies in the electronic pollbooks and MVP voter registration interface or

new versions of such in advance of June 2020 elections or the elections to be held

in August and November 2020.                   While the Court at this juncture has only

preliminary evidence in the record before it that addresses these claims in their

current form, the Court notes that alleged significant problems relating to the

express pollbooks were reported by the media during the June 2020 election cycle.

The Court makes no findings whatsoever based on this reporting, but simply finds



A voter can look up their information. But if they click to say I want to change something, they are
taken to the online voter registration system. That system will then send information to the county
registrars that they are then able to say we’re not going to put this in or will put this in. So it is not
like a voter is able to actively edit the ENet database themselves. They have to do that – all of those
systems will remain in place, the ENet system, the My Voter page, the online voter registration.
None of those systems are changing with the adoption of the new voting system for the election
process.” (December 6, 2019 Tr., Doc. 679 at 12-13.)

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that given the body of evidence originally presented and presented in connection

with Plaintiffs’ newest amended complaints, the Plaintiffs’ claims relating to

continuing, critical deficiencies in the MVP and voter registration system and

electronic pollbooks are, at very least, plausible and not moot. Similarly, in the

absence of evidence of the Secretary of State’s progress or timeline for enactment

or measures to address Plaintiffs’ claims for relief regarding the deficiencies in the

voter registration database relied on as the foundation of the voting system, the

Court cannot find that these registration related claims are moot. See Fanin v.

United States Department of Veterans Affairs, 572 F.3d 868, 876 (11th Cir. 2009)

(finding that the plaintiff’s case was not moot because there was “a wide gulf

between the [defendant] being ‘in the process’ of implementing new procedures

and it having those new procedures fully in place”). Thus, the Court cannot say

that Plaintiffs’ allegations have an insufficient basis or are sheerly speculative given

this record.

       Accordingly, although the portion of Plaintiffs’ claims challenging the DRE

voting machines themselves may for all practical purposes be moot because the

DREs have been barred from use past 2019 as explained above, these other aspects

of Plaintiffs’ claims are not. 14 Nor would Plaintiffs’ claims relating to the handing


14 This Court has twice indicated its view that Plaintiffs’ original claims challenging the
constitutionality of the DRE/GEMS voting system were not moot as a result of the passage of Act
No. 24/H.B. 316. First, in April 2019 (and before the DREs were enjoined for use past 2019), the
Court noted that because the DREs were still being used for elections in 2019, the claims were still
very much alive at that time. Indeed, the Court ordered substantive preliminary injunctive relief
on those claims in its August 2019 Order. Second, the Court noted in November 2019 that “[w]hile
the Court finds that discovery relating to the DREs and GEMS systems is not necessary to the
Court’s resolution of the Plaintiffs’ claims based on the current posture of the case, the Court does

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of security of the current voting system be moot to the extent that evidence is

introduced linking this to prior security issues and breaches.

       B.      Plaintiffs’ Claims Are Not Barred by Eleventh Amendment
               Immunity

       State Defendants have renewed their argument that Plaintiffs’ claims are

barred by the Eleventh Amendment. Implicitly recognizing the failure of their first

attempt at an Eleventh Amendment defense, Defendants assert that “Plaintiffs’

Complaints raise different Eleventh Amendment questions than those the Court

previously addressed.” (Mot., Doc. 645-1 at 15.) They argue that the Eleventh

Amendment bars claims in the amended/supplemental complaints because

Plaintiffs’ requested relief: (1) seeks redress of past harm; (2) is drastically

different and more comprehensive than before; and (3) impermissibly seeks

removal of the State’s constitutional authority to oversee the details of elections.

These are the exact arguments previously raised by the State in connection with

Plaintiffs’ claims challenging the DREs and rejected by both this Court and the

Eleventh Circuit on appeal.




not agree with the State Defendants’ characterization of Plaintiffs’ claims as being entirely moot.
The State has declined to concede that it will not seek to appeal the Court’s August 15, 2019
injunction order upon entry of a judgment in the case. The State has further declined to agree to
stipulate to the conversion of the Court’s order as a permanent injunction. As such, Plaintiffs’
claims challenging the DRE/GEMS election system are not legally moot.” (November 22, 2019
Ord., Doc. 668 at 2-3.)


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       (i) Curling Plaintiffs’ claim for declaratory relief regarding DREs

       State Defendants assert that “in Counts I and II of their Amended

Complaint, Curling Plaintiffs still seek retrospective declaratory relief regarding

use of the ‘DRE Voting System’ in the ‘Relevant Previous Elections,’” and that the

Eleventh Amendment bars such claims for retrospective relief. (Mot., Doc. 645-1

at 16) (citing Pls.’ Third Am. Compl., Doc. 627 ¶¶ 98(a), 110, 112(a)). Defendants’

argument is misplaced, mischaracterizes Plaintiffs’ allegations in Counts I and II,

is contrary to the Eleventh Circuit’s decision on appeal, and ignores the aspects of

Plaintiffs’ claims that challenge elements of the voting system that persist despite

the passage of HB 316 as discussed above.

       First, the Curling Plaintiffs are not reasserting claims challenging the DREs.

Rather, the Curling Plaintiffs filed a Third Amended Complaint to add claims

challenging the BMDs to their existing claims from the Second Amended

Complaint. 15 While Plaintiffs have not omitted their prior allegations and claims

regarding the DREs, the Court does not view the Curling Plaintiffs’ retention of

these allegations that form the basis of relief already granted as seeking any new

or additional relief regarding the defunct DRE voting machines.

       Second, Defendants mischaracterize Plaintiffs’ allegations as seeking relief

related to past elections. When the Third Amended Complaint was filed, and when


15 Rather, the purpose of the  amended complaint was to “adds claims related to GA SOS’s proposed
implementation of a voting system relying on ballot-marking devices (“BMDs”) that produce a 2D
barcode scanned for tabulation, along with a written summary of a voter’s selections,” and to
“update[] the named defendants based on resignations and subsequent elections, and updates the
factual assertions to reflect the passage of time.” (Pls.’ Mot. for Leave, Doc. 581 at 2.)

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Defendants filed their Motion to Dismiss, elections were still being conducted on

DREs, including a runoff in December 2019. Although the complaint details

deficiencies in the State’s DRE/GEMS voting system in prior elections that

resulted in alleged denial of the Plaintiffs’ constitutional rights that form the basis

of the claims, the complaint further alleges continuing violations as a result of the

State’s choice to continue using DREs in elections through the end of 2019 until

such time as the BMDs are fully implemented. Therefore, at the time it was filed

the Curling Plaintiffs’ claims in Counts I and II sought relief for future elections in

2019.

        Third, the State’s recycled arguments were already rejected by the Eleventh

Circuit in its decision on the State Defendants’ appeal of the denial of their earlier

motion to dismiss. The Eleventh Circuit held that Plaintiffs’ claims fell squarely

within the Ex parte Young exception to Eleventh Amendment immunity because

Plaintiffs alleged ongoing violations of federal law against the State Defendants in

their official capacities and sought only declaratory relief and an injunction against

enforcing the election system in future elections and that the State’s arguments to

the contrary ran “counter to the complaints’ allegations and settled precedent.”

Curling v. Secretary of Georgia, 761 F. App’x 927, 932 (11th Cir. 2019) (“Here,

there is no question that, like the plaintiffs in Grizzle, Plaintiffs seek only an

injunction barring the State Defendants from enforcing election rules that

allegedly violate Plaintiffs’ constitutional rights. Since they allege those rules will

violate their constitutional rights in the future, they have satisfied Ex parte Young’s


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exception.”) (citing Grizzle v. Kemp, 634 F.3d 1314, 1317–19 (11th Cir. 2011)

(holding that claims of plaintiffs challenging constitutionality of a Georgia election

law by seeking to enjoin the Secretary of State and members of the State Election

Board from enforcing the law in upcoming elections the way they had in past

elections sought “prospective injunctive relief” and fell within the Ex parte Young

exception to Eleventh Amendment immunity).

      Most important, the Court has already granted the relief requested in the

form of a preliminary injunction and found that Plaintiffs had shown a substantial

likelihood of success on the merits of their claims that the State’s DRE/GEMS

voting system violated the constitutional rights of Plaintiffs and other Georgia

voters and has enjoined the use of DREs in elections after 2019. The State is not

immune from those claims just because they are based on evidence of past

wrongdoing and harm. The Eleventh Circuit rejected the State’s argument that

Plaintiffs only sought relief for past harms because “Plaintiffs seek to succeed in

showing the unreliability (and thus unconstitutionality) of the DRE machines in

past elections), explaining “Plaintiffs use these allegations only to show that past

is prologue to their future injuries caused by the same election system.” Id. (citing

Lynch v. Baxley, 744 F.2d 1452, 1456 (11th Cir. 1984) (“Past wrongs do constitute

evidence bearing on whether there is a real and immediate threat of repeated injury

which could be averted by the issuing of an injunction.”)).

      Defendants rely on Green v. Mansour to support their argument that they

are immune because that the State’s statutory changes have eliminated any alleged


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ongoing violation of constitutional rights based on the DRE System. Green v.

Mansour, 474 U.S. 64, 68 (1985). 16 As explained above, because Plaintiffs’ claims

challenge as unconstitutional other aspects of the voting system (apart from the

DREs machines) that will allegedly continue and seek prospective relief in future

elections from such harm, these claims still fall within the Ex parte Young

exception. Therefore, Green is inapplicable. 17


16 In Green, the plaintiffs conceded on appeal that any claim they might have had for the specific
type of injunctive relief approved in Ex parte Young was rendered moot by the amendments to
the program under which plaintiffs sought benefits. They nevertheless sought “notice relief” and
and a declaration that the defendant’s prior conduct violated federal law, arguing that notice is an
independent form of prospective relief protected against the Eleventh Amendment bar by Ex
parte Young. 474 U.S. at 68. The Supreme Court held that “[b]ecause ‘notice relief’ is not the
type of remedy designed to prevent ongoing violations of federal law, the Eleventh Amendment
limitation on the Art. III power of federal courts prevents them from ordering it as an independent
form of relief.” Id. at 71. Therefore, “a request for a limited notice order will escape the Eleventh
Amendment bar if the notice is ancillary to the grant of some other appropriate relief that can be
‘noticed.’ Because there is no continuing violation of federal law to enjoin in this case, an
injunction is not available. Therefore, notice cannot be justified as a mere case-management
device that is ancillary to a judgment awarding valid prospective relief.” Id. at 72.
17 Defendants also incorrectly assert that Plaintiffs are seeking relief that would only indirectly

encourage compliance with federal law through deterrence which is “insufficient to overcome the
dictates of the Eleventh Amendment,” citing Fla. Ass’n of Rehabilitation Facilities, Inc. v. State
of Fla. Dep’t of Health and Rehabilitative Svcs., 225 F.3d 1208, 1219 (11th Cir. 2000). (See Defs.’
Mot. at 16). In that case, the Eleventh Circuit explained that “Plaintiffs’ suit originally fell within
the Ex parte Young exception. Their suit was directed against state officials in their official
capacities and asked for prospective injunctive relief to halt continuing violations of federal law.
Plaintiffs are not barred by the Eleventh Amendment from seeking enforcement, in a federal
court, of a federal statute which state agents have violated. Defendants, in fact, do not argue that
Plaintiffs’ suit was barred from the outset. Instead, they make a more focused argument that much
of the relief ordered by the district court is retrospective rather than prospective. They assert that,
to the extent the district court directed them to make changes to the State’s Boren-era
reimbursement plan retroactive to September 4, 1991, it essentially required them to redress
inequities in their past reimbursement payments from 1991 to the date of final judgment (April
1999), and potentially to reimburse Plaintiffs for those past deficiencies. We reluctantly agree.”
Id. at 1220. The Eleventh Circuit held that the Defendants were entitled to immunity because
although “the Eleventh Amendment does not generally prohibit suits against state officials in
federal court seeking only prospective injunctive or declaratory relief, but bars suits seeking
retrospective relief such as restitution or damages” and if “the prospective relief sought is
“measured in terms of a monetary loss resulting from a past breach of a legal duty,” it is the
functional equivalent of money damages and Ex parte Young does not apply.” Id. Plaintiffs’
claims here challenging the constitutionality of the State’s election system have nothing to do with
reimbursement or restitution for monetary damages. And Plaintiffs do not simply seek indirect

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       Accordingly, the Court denies Defendants’ motion to dismiss Counts I and

II of the Curling Plaintiffs’ Third Amended Complaint as barred by the Eleventh

Amendment.

       (ii)    Coalition Plaintiffs’ Claims for Relief Regarding BMD
               claims

       The State Defendants next assert that the Coalition Plaintiffs’ Supplemental

Complaint now requests “relief beyond the scope of that permitted by Ex Parte

Young, implicating special state sovereignty interests.” 18 (Defs.’ Mot. at 16.)

Specifically, the State asserts that because “Coalition Plaintiffs seek a mandatory

injunction to ‘employ a properly certified system using hand marked paper ballots

as the standard method of voting’ with specific ‘post-election, precertification

audits’ and tabulation of all votes using optical scanners,” the relief they seek

“implicates special sovereignty interests of the State by seeking judicial legislation

in an area specifically reserved to the states by the Constitution.” (Id.) The State



compliance with the law. Therefore, Defendants’ reliance on Fla. Ass’n of Rehabilitation
Facilities, Inc. is off base.
18 Strangely, State Defendants have not moved to dismiss the identical claims of the Curling

Plaintiffs on this basis. State Defendants do seek dismissal of Count V of Curling Plaintiffs’ Third
Amended Complaint requesting a declaration that the Dominion BMD system violates the
provisions of H.B. 316 because the BMDs do not print an “elector verifiable paper ballot.”
Defendants assert that Count V should be dismissed because: (i) it is premised on an alleged
violation of state, not federal, law and does not fall within the Ex parte Young exception to
Eleventh Amendment immunity; (ii) it is barred on state sovereign immunity grounds because
Georgia has not abrogated or waived its immunity with respect to this claim; and (iii) the proper
forum for the claim is in a Georgia state court. In response, Curling Plaintiffs indicate they “do
not oppose dismissal of Count V, which resolves State Defendants’ state-law arguments.” (Curling
Pls.’ Resp., Doc. 651 at 29.) Despite referring to various provisions of H.B. 316 in the complaint
for context, the Curling Plaintiffs do not assert any other state law claims. Accordingly, the Court
GRANTS Defendants’ Motion to Dismiss [Doc. 641] Count V of the Curling Plaintiffs’ Third
Amended Complaint. As the Court has not ruled on the merits of the claim in light of the Curling
Plaintiffs’ concession, Count V is DISMISSED WITHOUT PREJUDICE.

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Defendants again cite the Supreme Court’s decision in Idaho v. Coeur d’Alene

Tribe of Idaho, 521 U.S. 261, 281–288 (1997), though without any substantive

discussion or argument as to its application this second time around. 19

       While the Court recognizes that the Coalition Plaintiffs seek significant relief

with respect to the State’s implementation of a new voting system, Defendant’s

contention that the Coalition Plaintiffs’ newly supplemented claims seek relief that

is drastically different from that which they sought related to DREs rings hollow.

As this Court previously stated in its September 17, 2018 Order on Plaintiffs’ first

motion for preliminary injunction and Defendants’ earlier motion to dismiss in

addressing the State’s prior Eleventh Amendment immunity arguments:

       the requested relief does not implicate special state sovereignty
       interests by essentially usurping the State’s role in regulating
       elections. Plaintiffs are not asking the Court to direct how the State
       counts ballots. They are asking the Court to bar the use of DREs based
       on the specific circumstances, history, and data security issues
       presented in this case and where the State has alternative options of
       using optical scanners and hand counting ballots. And they seek to
       require the State to implement a fully auditable ballot system
       designed to ensure the accuracy and reliability of the voting process

19 Defendants also cite Washington State Grange v. Washington State Republican Party, 552
U.S. 442, 451 (2008). That case, however, has nothing to do with Eleventh Amendment immunity
principles and in fact recognizes that a state’s broad control over the election process “is not
absolute, but is ‘subject to the limitation that [it] may not be exercised in a way that violates ...
specific provisions of the Constitution.’ In particular, the State has the ‘responsibility to observe
the limits established by the First Amendment rights of the State’s citizens,’ including the freedom
of political association. Id. at 451-52 (internal citations omitted). The Washington State case also
acknowledges the Anderson-Burdick balancing test is applicable to cases that challenge as
unconstitutional a state’s election regulations and practices. Id. (citing Anderson v. Celebrezze,
460 U.S. 780, 788 (1983) and Burdick v. Takushi, 504 U.S. 428, 438 (1992) (“Election regulations
that impose a severe burden on associational rights are subject to strict scrutiny, and we uphold
them only if they are narrowly tailored to serve a compelling state interest. If a statute imposes
only modest burdens, however, then the State's important regulatory interests are generally
sufficient to justify reasonable, nondiscriminatory restrictions on election procedures.
Accordingly, we have repeatedly upheld reasonable, politically neutral regulations that have the
effect of channeling expressive activity at the polls.)) (internal citations and quotations omitted).

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      in this challenging era when data system vulnerabilities pose a serious
      risk of opening election data, processes, and results to cyber
      manipulation and attack. Thus, pursuant to Ex Parte Young, the
      Court finds that the Eleventh Amendment does not bar Plaintiffs’
      federal claims.

(September 2018 Order, Doc. 309 at 30.) Plaintiffs seek identical relief with

respect to the state’s newly adopted BMD voting system.

      On appeal, the Eleventh Circuit also rejected the State’s argument that

Plaintiffs’ claims implicate “special sovereignty interests,” by seeking to interfere

with how Georgia operates its elections. Curling v. Secretary of Georgia, 761 F.

App’x at 933.     The Eleventh Circuit found that Plaintiffs’ claims requesting

“enjoining Georgia’s use of DRE machines do[] not impermissibly violate Georgia’s

special sovereignty interests.” Id. The Coeur d’Alene Tribe decision (the premise

for Defendant’s argument), the Eleventh Circuit explained, was “an unusual case”

that presented an exception to the Ex parte Young doctrine because ruling in the

tribe’s favor would “extinguish” the state’s ownership over “a vast reach of lands

and waters long deemed by the State to be an integral part of its territory.” Id.

(quoting Coeur d’Alene Tribe, 521 U.S. at 282).         But, the Eleventh Circuit

concluded that there was “nothing unusual about Plaintiffs’ case” and that

“[u]ndoubtedly, Ex parte Young suits are permitted when the plaintiff alleges that

state election officials are conducting elections in a manner that does not comport

with the Constitution.” Curling, 761 F. App’x at 934 (citing Grizzle, 634 F.3d at

1316 (permitting the plaintiffs to challenge the constitutionality of a Georgia

election law)).


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      Defendants contend that because now “Plaintiffs seek relief that reaches far

deeper into the sovereignty interests of the state to the point of choosing one

auditable paper-ballot system over another,” their requested relief is

impermissible. Again, in their prior motion to dismiss, Defendants argued that

“[o]verriding a constitutional statute and mandating by injunction a reversion to

using and counting paper ballots by hand for a statewide election implicates exactly

the ‘special sovereignty interest’ that makes an exception under Ex parte Young

infirm.” (Defs.’ Mot. to Dismiss Coalition Plaintiffs’ Third Am. Compl., Doc. 234-

1 at 46.) Plaintiffs have been requesting that this Court order the State of Georgia

to conduct elections using hand-marked paper ballots from the inception of this

case. The only difference now is that they seek to enjoin BMDs rather than DREs.

Plaintiffs’ supplemental complaint does not raise different Eleventh Amendment

questions than those previously rejected.

      Nonetheless, the Court is cognizant that it must guide its consideration of

both the claims raised and relief requested by balancing the State’s interests in the

administration of its elections with the burden on the rights of the State’s voters,

and has endeavored to give proper deference to the State’s legislative and

administrative determinations as set forth in the law and in this Court’s prior

orders.




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      C.     Plaintiffs’ Allegations Are Sufficient to Establish Standing to
             Assert Claims Challenging Constitutionality of BMDs

      As they did with the DREs, Defendants argue that Plaintiffs lack standing to

bring their BMD claims in federal court. Defendants’ motion asserts first that

Plaintiffs have failed to allege harm from the BMD voting system that affects them

in “a personal and individual way,” and instead allege threatened injuries that are

purely theoretical and speculative. Second, Defendants argue that the alleged

injuries are not fairly traceable to State Defendants or to the challenged conduct of

the State but are instead attributable to third-party nefarious actors. And third,

Defendants assert that the BMD-related injuries alleged by Plaintiffs are not

redressable because Plaintiffs’ requested relief of hand-marked paper ballots suffer

from the same potential harms as those associated with the BMDs.                 These

arguments are largely the same as those raised by Defendants in the prior motion

to dismiss Plaintiffs’ claims challenging DREs.

      Standing is a “threshold question in every federal case, determining the

power of the court to entertain suit.’” CAMP Legal Def. Fund, Inc. v. City of

Atlanta, 451 F.3d 1257, 1269 (11th Cir. 2006) (quoting Warth v. Seldin, 422 U.S.

490, 499 (1975)); see also Common Cause/Georgia v. Billups, 554 F.3d 1340, 1349

(11th Cir. 2009) (quoting Bochese v. Town of Ponce Inlet, 405 F.3d 964, 974 (11th

Cir. 2005)). Standing has three elements:

      a plaintiff must show that he is under threat of suffering “injury in
      fact” that is concrete and particularized; the threat must be actual and
      imminent, not conjectural or hypothetical; it must be fairly traceable



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      to the challenged action of the defendant; and it must be likely that a
      favorable judicial decision will prevent or redress the injury.

Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009) (citing Friends of Earth,

Inc. v. Laidlaw Environmental Services (TOC), Inc., 528 U.S. 167, 180–181

(2000). The requirement that a plaintiff demonstrate standing “assures that there

is a real need to exercise the power of judicial review in order to protect the

interests of the complaining party.” Id. (internal citations omitted).

      “Foremost among these requirements is injury in fact – a plaintiff’s pleading

and proof that he has suffered the invasion of a legally protected interest that is

concrete and particularized, i.e., which affects the plaintiff in a personal and

individual way.” Gill v. Whitford, --- U.S. ----, 138 S. Ct. 1916, 1929 (2018) (quoting

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, and n. 1 (1992)) (internal

quotation marks omitted).       The Supreme Court has “long recognized that a

person’s right to vote is ‘individual and personal in nature.’” Gill, 138 S. Ct. at 1929

(quoting Reynolds v. Sims, 377 U.S. 533, 561 (1964)). “Thus, ‘voters who allege

facts showing disadvantage to themselves as individuals have standing to sue’ to

remedy that disadvantage.” Id. (quoting Baker v. Carr, 369 U.S. 186, 206 (1962)).

The Eleventh Circuit recently held in Jacobson v. Florida Sec’y of State that

although “voters have no judicially enforceable interest in the outcome of an

election,” they do “have an interest in their ability to vote and in their vote being

given the same weight as any other.” 957 F.3d 1193, 1202 (11th Cir. 2020)

(emphasis in original). “A plaintiff need not have the franchise wholly denied to



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suffer injury. Any concrete, particularized, non-hypothetical injury to a legally

protected interest is sufficient.” Common Cause/Georgia v. Billups, 554 F.3d

1340, 1351–52 (11th Cir. 2009).

      At the pleading stage, the plaintiff is only required to provide “general

factual allegations of injury.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561

(1992). “[H]owever, those allegations must nevertheless contain sufficient detail

for the Court to determine that plaintiffs ‘have made factual averments sufficient,

if true, to demonstrate injury in fact.’” Summers, 555 U.S. at 493 (quoting Havens

Realty Corp. v. Coleman, 455 U.S. 363, 378 (1982) (“extreme generality” of

allegations insufficient to demonstrate standing)). In a case like this one, where a

plaintiff seeks declaratory or injunctive relief, as opposed to damages for injuries

already suffered, “the injury-in-fact requirement insists that a plaintiff ‘allege facts

from which it appears there is a substantial likelihood that he will suffer injury in

the future.’” Strickland v. Alexander, 772 F.3d 876, 883 (11th Cir. 2014) (quoting

Malowney v. Fed. Collection Deposit Grp., 193 F.3d 1342, 1346 (11th Cir. 1999)).

In ruling on a motion to dismiss for lack of standing, the court must accept as true

all material allegations of the complaint and construe them in the Plaintiffs’ favor.

Warth v. Seldin, 422 U.S. 501-02 (citations omitted). At the same time, it is within

the court’s power to consider by affidavits further particularized allegations of fact

deemed supportive of plaintiff’s standing to determine whether the plaintiff’s

standing adequately appears from all materials of record. Id. Here, the Court is

able to refer both to the Amended Complaints and a host of expert and other


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affidavits in connection with Plaintiffs’ Motions for Preliminary Injunction relating

to the additional claims asserted in their Amended Complaints. The Court also can

draw on its knowledge of the record in the case as context. The question of whether

the Plaintiffs ultimately will prevail on the merits of their asserted claims is not the

question before the Court in assessing standing.

      As to injury in fact, Defendants contend that Plaintiffs are attempting to

bootstrap their way into standing for their BMD allegations by relying on their

previous claims about DREs. Defendants also contend that Plaintiffs have not

sufficiently alleged a concrete “injury in fact” because they “fail to allege that they

are under threat of suffering a prospective injury that is ‘real and immediate’

regarding Georgia’s new BMD voting system.” (Mot. at 25) (emphasis in original).

Specifically, Defendants assert that Plaintiffs’ allegations of generalized fear that

malicious activity might occur is insufficient to confer standing:

      Plaintiffs allege that that the BMDs “remain susceptible to
      manipulation,” are “vulnerable to intentional [and] unintentional
      forms of manipulation,” and that these vulnerabilities “could cause”
      BMDs to malfunction or improperly tabulate votes. Id. In sum,
      Plaintiffs’ injury allegations are that: (1) a malicious hacker might
      hack BMDs; (2) voters might not review the ballot; (3) the optical-
      scan unit might incorrectly count votes; (4) post-election audits of the
      ballot or an election challenge might not catch any errors.

(Id. at 26.) Defendants also argue that “Plaintiffs have complete control over

whether they are ‘injured’ because they can review their selections on their BMD-

marked paper ballot.” (Id.)




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       These arguments mischaracterize the alleged injury. While voting security

issues obviously form an important context surrounding the operation of elections

and vote counts, the injury Plaintiffs allege is that they will be required to cast a

ballot that cannot be read or verified as reflecting their actual choices because the

votes are tabulated solely from an encrypted barcode that is not human readable.

This injury is not speculative; it is “certainly impending,” since Plaintiffs intend to

vote in person in each upcoming election in Georgia. Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 409 (2013).

       Contrary to Defendants’ characterizations, Plaintiffs’ allegations are not

solely premised on a theoretical and hypothetical possibility that the new BMD

voting system might be hacked or improperly accessed and manipulated. 20

Defendants’       motion      focuses     exclusively      on    allegations     about      security

vulnerabilities and the potential for hacking, which they claim only implicates

injuries that will be legally caused by nefarious third parties, instead of by the State.

The State does not address Plaintiffs’ other allegations, which assert that the

operation of the Dominion BMD System as designed will injure in-person voters

by depriving them of their fundamental right to cast a verifiable vote and have that

vote counted, and their right to be treated equally with similarly situated absentee




20 According to the Curling Plaintiffs, the BMD claims are legally identical to the DRE-related
claims that this Court previously ruled Plaintiffs have standing to pursue, and no new facts should
materially alter the Court’s standing analysis here. (Curling Pls.’ Resp., Doc. 651 at 18.) To be sure
though, the posture of Plaintiffs’ BMD claims is markedly different from the claims regarding
DREs.

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voters. 21 (Coalition Pls.’ Compl. ¶¶ 99–120, 129; Curling Pls.’ Compl. ¶¶ 70-90.) 22

Defendants ignore the fundamental basis of Plaintiffs’ claims – the allegation that

the Dominion system ballot scanner only tabulates votes from the encrypted

barcode that is indecipherable to the human eye.

       Plaintiffs allege that the BMD system’s reliance on a BMD generated

condensed summary of voter electoral choices in tandem with ballot counting

based on an unverified barcode does not provide a means by which completed

ballots can be accurately counted, tested, or verified, thereby depriving or


21 Plaintiffs each also assert equal protection violations based on allegations that by planning to
allow electors to vote using two different methods, the unverifiable BMD system and paper ballots
available to provisional and absentee voters that are verifiable and recountable, they are being
subject to unequal treatment. (Doc. 627 ¶¶ 124, 129) (“The voters of the respective ballots have
not been treated equally in that the votes of those who will vote using the Proposed Election
System cannot be meaningfully recounted, reviewed against an independent record to verify, or
have discrepancies detected and corrected. These votes are unequally weighted, with greater
weight given to those who vote by absentee paper ballot, whose votes can be verified as to voter
intent, can be accurately recounted, and can have processing errors identified and corrected, while
votes cast under the Proposed Election System, whose votes do not share those essential
advantages.”); (Doc. 628 ¶ 145) (“The Dominion BMD System deprives in-person voters of the
right to have their official votes audited that other voters enjoy.”); (Id. ¶ 231) (“Voters who are
similarly situated in all respects but who instead cast their votes on mailed paper ballots in the
same election will be treated differently and will suffer none of the foregoing burdens, risks, and
harms, including the inability to read and verify the votes they cast.”) The fact that an individual
Plaintiff could choose to vote by absentee ballot rather than voting in person using a BMD in order
to cast a ballot that is verifiable and auditable does not diminish standing to assert an equal
protection claim here. As Plaintiffs have alleged, voting by absentee ballot carries its own burdens,
ranging from the minimal cost of postage (without consideration of pandemic conditions) to
severe (the risk that a ballot is rejected for signature mismatch or is lost in the mail and never
received for counting by the elections office). Because Plaintiffs may have a preference for one
alternative method of voting over another does not destroy their standing to bring a claim
challenging the Defendants’ failure to provide uniform procedures for recounts and audits to both
in person and absentee voting. This Court recognized previously that “[t]he right to vote is
protected in more than the initial allocation of the franchise. Equal protection applies as well to
the manner of its exercise. Having once granted the right to vote on equal terms, the State may
not, by later arbitrary and disparate treatment, value one person’s vote over that of another.” See
Bush v. Gore, 531 U.S. 98, 105 (2000) (finding that application of different standards to determine
voter intent in conducting a recount led to the unequal evaluation of ballots).
22 Coalition Plaintiffs also separately allege that BMDs infringe their right to vote using a secret

ballot. (Coaltion Pls.’ Compl. ¶¶ 39–41, 121–28.)

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burdening their voting franchise rights. (Curling Pls.’ Compl. ¶¶ 71-75, 89-90, 116,

125; Coalition Pls.’ Compl. ¶¶ 63, 66, 80, 82, 87, 88, 100, 103, 106, 203, 223;

Affidavit of Plaintiffs’ Expert Dr. Philip B. Stark at Doc. 680-1 23). And because the

State has yet to adopt and implement a post-election audit procedure to verify that

the barcode tabulations match the human-readable voter selections, voters cannot

verify that the votes they cast were the votes that were counted. (Coaltion Pls.’

Compl. ¶¶ 130-36, 142-47; Curling Pls.’ Compl. ¶¶ 89-90.)

       Plaintiffs separately allege, as they did with DREs, that their votes will “likely

be improperly counted” under the BMDs system due to security vulnerabilities that

have already been identified in the Dominion system and because of the Secretary

of State’s failure to act to address voting systemic vulnerabilities in its existing IT

infrastructure. Plaintiffs challenge the State Defendants’ implementation of a

barcode-based system with known and demonstrated vulnerabilities contrary to

the recommendations of voting system experts that is incapable of being properly

audited. These include: (i) the State of Texas’s refusal in February 2019 to certify

Dominion’s election management system based upon several problems with the

software, (ii) the 2019 DEFCON Voting Village Report that found twenty

vulnerabilities in a Dominion BMD system similar to the one being employed in

Georgia, (iii) the National Academy of Sciences warning that BMDs that print only



23 Dr. Stark’s affidavit discusses, among other things, the various reasons why “there is no way to
establish that the BMD printout is a trustworthy record of what the BMD displayed to the voter
or what the voter expressed to the BMD.” (Doc. 680-1 at 4.) His affidavit addresses in turn why
this makes a trustworthy, accurate full recount or audit of VMD votes cast not possible.

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selections with abbreviated names/descriptions of the contests are virtually

unusable for verifying voter intent, (iv) the opinion of the State’s own retained

expert, Dr. Shamos, that if a BMD is going to be used, the more reliable approach

is to use a BMD that produces a ballot readable by a human voter, rather than a

barcode, and (v) the Secretary of State’s failure to remedy compromises in its

current voter registration and internal IT systems. (Curling Pls.’ Compl. ¶¶ 75-88;

see also Coalition Pls.’ Compl. ¶¶ 135, 176-186.) In sum, Plaintiffs allege that

despite the fact that cybersecurity experts and government officials recommended

a voting system that included a voter-verified paper trail, Georgia’s BMD System

will rely on a non-voter-verified barcode as the elector’s actual vote. 24 (Curling Pls.

Compl. ¶¶ 74-75; see also Coalition Pls.’ Compl. ¶¶ 164-175.)

       Accordingly, the Court finds that Plaintiffs’ allegations of the threat of

imminent harm are sufficient at this stage of the proceedings to establish injury to

their constitutional rights and demonstrate standing to proceed on their asserted

claims.

       Turning to the second standing element, “to satisfy the causation

requirement of standing, a plaintiff’s injury must be ‘fairly traceable to the

challenged action of the defendant, and not the result of the independent action of

some third party not before the court.’” Jacobson v. Florida Sec’y of State, 957 F.3d


24Although Plaintiffs’ Complaints can be read as a criticism of the State of Georgia’s selection of
the BMD voting system over a hand-marked paper ballot system, the Court does not view
Plaintiffs’ claims as challenging the legislature’s passage of HB 316 itself as unconstitutional.
Rather, the Court views Plaintiffs as challenging the Secretary of State’s implementation of a
barcode-based BMD system for the reasons discussed herein.

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1193, 1207 (11th Cir. 2020) (quoting Lujan, 504 U.S. at 560 (alterations adopted)).

Defendants assert that to the extent any injuries arise, they are the result of third-

party actions, not the actions of the State Defendants because “[t]he theoretical

hacking, potential auditing issues, and hypothetical bar-code problems could be

traced either to illegal hacking by third parties; improper conduct by election

officials; or voters’ failures to verify their paper ballots – not the State of Georgia’s

implementation of BMDs.” (Mot. at 27-28.) Defendants have essentially recycled

the same argument (with the exception of blaming the voters themselves)

previously raised in connection with Plaintiffs’ DRE claims. The same reasoning

applies to reject this argument now.

      Again, Plaintiffs’ injury stems from Defendants’ implementation of an

alleged unconstitutional voting system that is subject to the same demonstrated

vulnerabilities as the DREs and that is not a voter-verifiable and auditable paper

ballot system. Pursuant to H.B. 316 mandating the statewide use of “electronic

ballot markers [that] shall produce paper ballots which are marked with the

elector’s choices in a format readable by the elector,” Georgia’s new Election Code

placed the responsibility of selecting the equipment for the new voting system with

the Secretary of State. See O.C.G.A. § 21–2–300(a). The law expressly requires

that the “equipment used for casting and counting votes in county, state, and

federal elections shall be the same in each county of this state and shall be

provided to each county by the state, as determined by the Secretary

of State.” O.C.G.A. § 21–2–300(a)(1) (emphasis added). The Election Code


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further requires the Secretary of State to certify the new BMD voting system as

“safe and practicable for use” in compliance with the Rules of the Georgia State

Election Board prior to authorizing its implementation in state, federal, and county

elections in the State. O.C.G.A. § 21–2–300(a)(2); see also Ga. Comp. R. & Reg. r.

590–8–1–.01(d). The Election Code also tasks the Georgia State Election Board

with promulgating rules and regulations governing audit procedures and requires

that “[t]he procedures prescribed by the State Election Board shall include security

procedures to ensure that collection of validly cast ballots is complete, accurate,

and trustworthy throughout the audit.” O.C.G.A. § 21-2-498(b)&(d).

      Plaintiffs challenge the actions of the Secretary of State and the State

Election Board, not some potential absent third party hackers. Plaintiffs allege that

State Defendants ignored the recommendations of election security experts to

ensure that a proper audit regime was in place to verify the State’s voting machine

election results. And Plaintiffs allege that in implementing a mandatory statewide

electronic barcode-based voting system without current or sufficient audit

protocols in place in upcoming elections, Defendants are requiring Plaintiffs to

exercise their right to vote using a system incapable of producing verifiable results.

(See, e.g., Curling Pls.’ Compl. ¶¶ 89-90, 117; Coalition Pls.’ Compl. ¶¶ 130, 135,

137, 145-47.) They also allege that the Secretary of State’s failure to act to address

the security and reliability vulnerabilities in its voting data systems and

infrastructure over a sustained period of time continues to pose threats in

implementation of the new BMD system. (Curling Pls.’ Compl. ¶¶ 34-90; Coalition


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Pls.’ Compl. ¶¶ 176-186.) The Coalition Plaintiffs further allege that the Secretary

of State failed to properly certify the new BMD machines as required under HB 316

prior to their use in Georgia elections, and failed to test “whether the operation of

the system would permit valid auditing of the results.” (Coalition Pls.’ Compl. ¶¶

155-63.) At the motion to dismiss stage, these allegations are sufficient to show a

causal     connection,   even    if   arguably   indirectly,   between     Defendants’

implementation of the BMD system and the injury to Plaintiffs’ constitutional

rights. Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263,

1273 (11th Cir. 2003) (“[E]ven harms that flow indirectly from the action in

question can be said to be ‘fairly traceable’ to that action . . . .”); Lewis v. Governor

of Alabama, 944 F.3d 1287, 1301 (11th Cir. 2019) (“it must be the effect of the

court’s judgment on the defendant” – not an absent third party – “that redresses

the plaintiff’s injury, whether directly or indirectly”).

         Finally, State Defendants argue that “Plaintiffs also cannot show

redressability, because the same concerns allegedly associated with BMDs (lack of

audits, hacking, and interference from election officials) are present in Plaintiffs’

requested relief” of hand marked paper ballots. (Mot. at 37). As this Court

previously indicated in its September 15, 2019 Order rejecting Defendants’

argument that Plaintiffs’ claims are not redressable because “no election system is

flawless,” this is not the standard for redressability. Curling, 334 F. Supp. 3d at

1318. Plaintiffs are seeking relief to address a particular voting system which they

allege, as designed or as implemented by Defendants, burdens Plaintiffs’ capacity


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to cast votes that are actually properly counted and fails to produce a voter-

verifiable auditable paper trail that is recognized as essential on a national level by

election security experts. “Plaintiffs are not asking for a system impervious to all

flaws or glitches.” Id. They are seeking to vindicate their right to effectively and

reliably cast a verifiable vote reflective of their ballot choices.

       In sum, the Court finds that Plaintiffs have sufficiently alleged standing to

bring their claims at this juncture.

       D.      Coalition Plaintiffs Have Failed to State a Claim for
               Procedural Due Process Regarding the BMD Voting System

       Defendants moved to dismiss Count III of Coalition Plaintiffs’ First

Supplemental Complaint 25 because: (i) Coalition Plaintiffs have failed to

sufficiently allege the deprivation of a constitutionally protected liberty or property

interest, (ii) the complaint does not allege that Plaintiffs have been subjected to

inadequate process; and (iii) the availability of a state remedy necessarily prevents

Plaintiffs from maintaining a procedural due process claim as a matter of law.

Alternatively, Defendants also argue that “even assuming a liberty or property

interest existed for a preferred voting system, there is no deprivation of that

interest, given the State’s no-excuse absentee voting system by hand-marked paper

ballots.” 26 (Defs.’ Mot., Doc. 645 at 21.)


25 The Curling Plaintiffs do not assert a procedural due process claim. (Curling Resp., Doc. 651 at

29.)
26 The Court rejected this argument raised in connection with Plaintiffs’ substantive due process

claims raised in the Defendants’ prior motion to dismiss. The Court found that the “choice”
between undergoing additional burdens on their right to vote by absentee ballot to avoid having
to use unsecure voting machines was itself a burden that Plaintiffs had plausibly alleged subjected

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       In Count Three of the First Supplemental Complaint, Coalition Plaintiffs

allege that by implementing the Dominion BMD voting system, Defendants will

violate their procedural due process rights because it will “severely restrict and/or

arbitrarily and capriciously deprive” the Coalition Plaintiffs of the following “state-

created liberty and property interests” without proper notice:

       •       The right of voters under Georgia statutes to have their official
               votes counted in an initial count.
       •       The right of voters under Georgia statutes to have their initial
               votes recounted in a recount or examined in an audit.
       •       The right of voters under Georgia statutes to cast their votes
               using a voting system that has been properly certified as safe
               for use.
       •       The right of voters under Georgia statutes to cast their votes on
               a voting system that is fundamentally compliant with Georgia
               law.
       •       The state statutory and state constitutional rights of voters to
               vote by secret ballot.

(Doc. 628 ¶ 240.) Plaintiffs allege generally that “Defendants’ threatened conduct

will violate the procedural requirements of the Due Process Clause of the

Fourteenth Amendment to the United States Constitution.” (Id. ¶ 242.)

       A violation of procedural due process occurs where the state fails to provide

due process in the deprivation of a protected property or liberty interest. McKinney

v. Pate, 20 F.3d 1550, 1557 (11th Cir. 1994) (en banc). “A procedural due process


them to unequal treatment. The Court further found that the additional burdens and
inconveniences associated with voting by absentee paper ballot were not mere trivial concerns
and noted that “[a]s evidenced by the most recent election, absentee voting is not without its
constitutional problems. See Martin v. Kemp, 341 F.Supp.3d 1326 (N.D. Ga. 2018) (concluding
that specific additional burdens and procedures imposed on absentee voters there were violative
of due process guarantee of Fourteenth Amendment); see also Democratic Executive Committee
of Florida v. Lee, 915 F.3d 1312 (finding that plaintiffs had established a likelihood of success on
constitutional challenge to Florida’s signature-match requirement for vote-by-mail paper
ballots).” (May 21, 2019 Order, Doc. 375 at 47-48.)

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claim has three elements: (1) a deprivation of a constitutionally-protected liberty

or property interest; (2) state action; and (3) a constitutionally-inadequate

process.” Doe v. Fla. Bar, 630 F.3d 1336, 1342 (11th Cir. 2011). It is not the

deprivation of a protected interest that causes a violation, but rather, “[i]t is the

state’s failure to provide adequate procedures to remedy the otherwise

procedurally flawed deprivation of a protected interest that gives rise to a federal

procedural due process claim.” Id. Accordingly, only when the state refuses to

provide a process sufficient to remedy the procedural deprivation does an

actionable constitutional violation arise. Id. Therefore, Plaintiffs carry the burden

of “alleging that, as a result of some state action, the plaintiff was deprived of a

constitutionally protected interest, and the state did not afford the plaintiff

adequate process to challenge the deprivation.” Searcy v. Prison Rehab Industries

& Ent, Inc., 746 F. App’x. 790, 795 (11th Cir. 2018).

      As to the first element of the procedural due process claim, Defendants

contend that there is no state-created liberty or property interest in a preferred

choice of voting systems, citing the Georgia Supreme Court’s decision in Favorito,

285 Ga. at 797–798. Plaintiffs’ allegations in Count III are not based on a

preference of one voting system over another. Rather, the Coalition Plaintiffs

allege that Defendants’ failure to comply with certain provisions and requirements

of Georgia law deprives them of their constitutional rights, including the right to

have their votes accurately counted, the right to a properly certified voting system,




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the right to an auditable voting system, and the right to a secret ballot as

guaranteed by the Georgia constitution.

       Because the Court finds that Plaintiffs have failed to sufficiently allege the

third element of a procedural due process claim – a constitutionally inadequate

process – the Court assumes without deciding that Plaintiffs’ allegations

adequately establish the alleged deprivation of their constitutionally protected

voting interests. As this Court has recognized, once a state creates a statutory

voting regime, the state “must administer it in accordance with the Constitution.”

Martin v. Kemp, 341 F. Supp. 3d 1326, 1338 (N.D. Ga. 2018), appeal dismissed

sub nom. Martin v. Sec’y of State of Georgia, 18-14503-GG, 2018 WL 7139247

(11th Cir. Dec. 11, 2018). The Supreme Court has long held that state-created

statutory entitlements can trigger due process. See Goldberg v. Kelly, 397 U.S. 254,

262 (1970); Paul v. Davis, 424 U.S. 693, 710-12 (1976).

       Coalition Plaintiffs, however, have failed to allege, except in the most general

and conclusory fashion, that the State Defendants have failed to provide adequate

procedures to remedy the alleged harms. 27 “The law is well established that the


27Plaintiffs’ allegations in their supplemental complaint are distinguishable from those in which
courts have recognized a claim based on inadequate procedures in the context of voting. For
example, in Georgia Muslim Voter Project v. Kemp, (consolidated with Martin v. Kemp) the
plaintiffs alleged that under Georgia law, county elections officials were required to reject all
absentee ballots whose signature “does not appear to be valid” because the signature does not
match the signature on file. See 1:18-cv-4789, Compl. ¶¶ 1, 30 (citing O.C.G.A. § 21-2-
386(a)(1)(C)). Plaintiffs there further alleged: This determination is made by election officials who
are not required to receive training on handwriting analysis or signature comparison and no
statute or regulation provides standards to make such determinations or distinguish natural
variations in a person’s handwriting or to consider extrinsic evidence that might confirm the
identify of the voter. Id. ¶¶ 5-6, 36. When these rejections occur, voters are not provided any pre-
rejection notice or an opportunity to be heard or to otherwise ensure that their absentee ballot

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mere failure to follow state procedures does not necessarily rise to the level of a

violation of federal procedural due process rights.” Democratic Party of Georgia,

Inc. v. Crittenden, 347 F. Supp. 3d 1324, 1345 (N.D. Ga. 2018) (finding that

plaintiffs had not established substantial likelihood of success on claim of a lack of

adequate process to remedy the rejection of mail-in ballots because the challenge

“of failure to follow state procedures” did not establish a federal denial of due

process); Maddox v. Stephens, 727 F.3d 1109, 1124 (11th Cir. 2013) (“[W]e

emphasize that the violation of a state statute outlining procedure does not

necessarily equate to a due process violation under the federal constitution. If

otherwise, federal courts would have the task of insuring strict compliance with

state procedural regulations and statutes.”); Harris v. Birmingham Bd. of Educ.,

817 F.2d 1525, 1528 n.15 (11th Cir. 1987) (holding that although plaintiff had a state

given property interest of continuing employment in the absence of just cause for

termination, he received what was due under the Constitution, and declining to




will be counted. Id. ¶1. The elections officials’ determination is final without any review or appeal.
Id. ¶¶ 1, 31 (citing O.C.G.A. § 21-2-386(a)(1)(B)-(C)). The same process applies to the absentee
ballot application process. Id. ¶¶ 19-24 (citing O.C.G.A. § 21-2-381(b)(1)-(3)). With respect to the
applications, while there is no procedure by which an elector can contest the registrar’s decision,
the statutes do not prevent an elector whose application is rejected from applying a second time
or voting in person. Plaintiffs alleged, however, that there is no reason to believe that the same
signature will not be rejected again, and that a second application would not be futile. Id. ¶ 24.
The district court found that these claims had merit and granted a preliminary injunction
requiring the Secretary of State to instruct county election officials to cease rejecting absentee
ballots and applications based on perceived signature mismatch and requiring them to provide
pre-rejection notice and an opportunity to resolve the alleged signature discrepancy to the
absentee voter and ordered that absentee voters shall have the right to appeal any absentee ballot
rejection following the outcome of the court-ordered process. 341 F. Supp. 3d 1326, 1341-42 (N.D.
Ga. 2018).

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address whether the plaintiff had a cause of action in the state courts for failure of

the board of education to strictly comply with the state’s notice statute).

       Coalition Plaintiffs’ allegation that “there is no adequate legal remedy” for

the alleged deprivations is likewise couched in entirely conclusory terms.

(Coalition Pls.’ Compl. ¶ 245.) Fellow District Court Judge Steve Jones recently

addressed a similar constitutional challenge to the Secretary of State’s compliance

with provisions of H.B. 316 in Fair Fight v. Raffensperger, Civil Action No. 1:18-

cv-5391-SCJ. In denying the plaintiffs’ request for a preliminary injunction that

would have required an interpretation of the new state election law for the first

time by a federal court, Judge Jones noted that “Plaintiffs also have an additional

remedy in the form of seeking a mandamus in the state courts.” December 27,

2019 Order, Doc. 188 at 18-20) (citing inter alia, Roe v. State of Ala., 43 F.3d 574,

582 (11th Cir. 1995). 28

       Accordingly, the Court finds that Coalition Plaintiffs have failed to

sufficiently allege a claim for procedural due process and GRANTS Defendants’

Motion to Dismiss Count III of their First Supplemental Complaint. As Plaintiffs



28A plaintiff cannot rely on the failure of the state to provide her due process where adequate state
remedies are available. As the Eleventh Circuit has explained, if the state courts generally would
provide an adequate remedy for the procedural deprivation the plaintiff claims to have suffered,
there is no federal due process violation regardless of whether the plaintiff has taken advantage
of the state remedy or attempted to do so. Horton v. Bd. of County Comm’rs of Flagler County,
202 F.3d 1297, 1300 (11th Cir. 2000). Thus, if Georgia law provides an adequate means to remedy
the alleged procedural deprivation, Plaintiff’s procedural due process claim fails. In applying
Georgia law, the Eleventh Circuit has previously held that the writ of mandamus can be an
adequate state remedy to ensure a party was not deprived of her due process rights. See Cotton v.
Jackson, 216 F.3d 1328, 1332 (11th Cir. 2000); A.A.A. Always Open Bail Bonds, Inc. v. DeKalb
County, Ga., 129 F. App’x. 522, 525 (11th Cir. 2005).

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are not foreclosed from pursuing their state remedies, Count III is DISMISSED

WITHOUT PREJUDICE.

       E.     Defendants’ Contentions That Plaintiffs’ Requested Remedy
              Violates the ADA is not an Appropriate Basis on Which to
              Dismiss the Claims

       In their final argument for dismissal, State Defendants contend that

Plaintiffs’ proposed remedy of using hand-marked paper ballots for the majority

of voters and to reserve the use of BMDs solely for disabled voters would require

the State to provide disabled individuals with a voting system that is not equal as

that provided to others, in violation of the Americans with Disabilities Act and the

Rehabilitation Act. Despite the potential merits of their position, Defendants’

motion does not explain the legal authority that would require the Court to accept

Defendants’ argument over the Plaintiffs’ allegations and therefore that would

support the dismissal of Plaintiffs’ claims. Plaintiffs are correct that Defendants’

arguments regarding the propriety of the relief Plaintiffs seek in their motion for

preliminary injunction have no bearing on the sufficiency of the allegations of their

complaints under Rule 12. 29 While the Court may ultimately be required to weigh

the interests of the impact of any proposed remedy on disabled voters in fashioning

any potential relief on Plaintiffs’ claims, Defendants have failed to demonstrate

that Plaintiffs’ Complaints require dismissal at this stage on this basis.


29As Curling Plaintiffs note in their Response in opposition to Defendants’ Motion to Dismiss,
they do not request that disabled voters be forced to use the Dominion BMD system. Rather, they
request only that Defendants “make available at each polling place at least one electronic or
mechanical BMD that is in compliance with the Americans with Disabilities Act and Help America
Vote Act.” (Doc. 619 at 2.)

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III.   CONCLUSION

       For the foregoing reasons, the Court GRANTS IN PART and DENIES IN

PART Defendants’ Motion to Dismiss the Curling Plaintiffs’ Third Amended

Complaint and the Coalition Plaintiffs’ First Supplemental Complaint [Doc. 645].

The Motion to Dismiss is GRANTED as to Count V of the Curling Plaintiffs’ Third

Amended Complaint and Count III of the Coalition Plaintiffs’ First Supplemental

Complaint and those claims are DISMISSED WITHOUT PREJUDICE. The

motion is DENIED in all other respects.

       The Court AUTHORIZES discovery on these claims to begin immediately

upon entry of this Order. Finally, the Court DIRECTS Defendants to file a

response to Plaintiff’s proposal on the scope and schedule for expedited discovery

on Monday, August 3, 2020.

       IT IS SO ORDERED this 30th day of July, 2020.




                                     _____________________
                                     Amy Totenberg
                                     United States District Judge




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